Case 2:22-cv-05209-GJP Document 27-5 Filed 03/30/23 Page 1 of 2




           EXHIBIT 4
                   Case 2:22-cv-05209-GJP Document 27-5 Filed 03/30/23 Page 2 of 2
         NOTICE OF OFFICE OF MANAGEMENT AND BUDGET ACTION
                                                                                             Date     03/29/2021

Department of Justice
Drug Enforcement Administration

FOR CERTIFYING OFFICIAL:           Joseph Klimavicz
FOR CLEARANCE OFFICER:             Melody Braswell

In accordance with the Paperwork Reduction Act, OMB has taken action on your request received
12/08/2020

ACTION REQUESTED:           New collection (Request for a new OMB Control Number)
TYPE OF REVIEW REQUESTED:              Regular
ICR REFERENCE NUMBER:                  202012-1117-001
AGENCY ICR TRACKING NUMBER:
TITLE:         Reporting and Recordkeeping Requirements Related to Suspicious Orders



OMB ACTION: Comment filed on proposed rule
OMB CONTROL NUMBER:            1117-0056



EXPIRATION DATE: Not Applicable                               DISCONTINUE DATE:


COMMENT:                       OMB files this comment in accordance with 5 CFR 1320.11( c ). This OMB action is not an
                               approval to conduct or sponsor an information collection under the Paperwork Reduction Act
                               of 1995. This action has no effect on any current approvals. If OMB has assigned this ICR a
                               new OMB Control Number, the OMB Control Number will not appear in the active inventory.
                               For future submissions of this information collection, reference the OMB Control Number
                               provided. OMB files this comment in accordance with 5 CFR 1320.11( c ). This OMB action is
                               not an
                               approval to conduct or sponsor an information collection under the Paperwork Reduction Act
                               of 1995. This action has no effect on any current approvals. If OMB has assigned this ICR a
                               new OMB Control Number, the OMB Control Number will not appear in the active inventory.
                               For future submissions of this information collection, reference the OMB Control Number
                               provided. OMB files this comment in accordance with 5 CFR 1320.11( c ). This OMB action is
                               not an approval to conduct or sponsor an information collection under the Paperwork
                               Reduction
                               Act of 1995. This action has no effect on any current approvals. If OMB has assigned this ICR
                               a new
                               OMB Control Number, the OMB Control Number will not appear in the active inventory. For
                               future
                               submissions of this information collection, reference the OMB Control Number provided. In
                               accordance with 5 CFR 1320, OMB is withholding approval of this information collection. Prior
                               to the publication of the final rule, the agency must provide to OMB a summary of all
                               comments
                               pertaining to the information collection burden imposed by this rule and any changes made in
                               response to these comments.

OMB Authorizing Official:      Dominic J. Mancini
                               Deputy and Acting Administrator,
                               Office Of Information And Regulatory Affairs
